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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA
                                              No. 21 CR 371
              v.
                                              Judge Matthew F. Kennelly
VIVIANNA LOPEZ, et al.


              PROTECTIVE ORDER GOVERNING DISCOVERY

      Upon the motion of the government, pursuant to Fed. R. Crim. P. 16(d), it is

hereby ORDERED:

      1.     All of the materials provided by the United States in preparation for, or

in connection with, any stage of the proceedings in this case (collectively, “the

materials”) are subject to this protective order and may be used by defendants and

defendants= counsel (defined as counsel of record in this case) solely in connection

with the defense of this case, and for no other purpose, and in connection with no

other proceeding, without further order of this Court.

      2.     Defendants and defendants’ counsel shall not disclose the materials or

their contents directly or indirectly to any person or entity other than persons

employed to assist in the defense, persons who are interviewed as potential witnesses,

counsel for potential witnesses, and other persons to whom the Court may authorize

disclosure (collectively, “authorized persons”). Potential witnesses and their counsel

may be shown copies of the materials as necessary to prepare the defense, but may

not retain copies without prior permission of the Court.
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      3.     Any materials containing taxpayer information obtained from the

Internal Revenue Service shall be plainly marked as such by the government prior to

disclosure. No such materials, or the information contained therein, may be disclosed

to any persons other than defendants, defendants= counsel, persons employed to

assist the defense, or the taxpayer on whose behalf such information was provided to

the Internal Revenue Service, without prior notice to the government and

authorization from the Court. Absent prior permission from the Court, taxpayer

information obtained from the Internal Revenue Service shall not be included in any

public filing with the Court, and instead shall be submitted under seal (this Order

does not, however, prohibit a defendant from making a public filing containing the

defendant’s own taxpayer information).

      4.     Certain additional materials disclosed or to be disclosed by the

government    contain   particularly   sensitive   information,   including   financial

information of one or more persons other than the defendant to whom the information

is disclosed. These materials shall be plainly marked as sensitive by the government

prior to disclosure. No such materials, or the information contained therein, may be

disclosed to any persons other than defendants, counsel for defendants, persons

employed to assist the defense, or the person to whom the sensitive information solely

and directly pertains, without prior notice to the government and authorization from

the Court. Absent prior permission from the Court, information marked as sensitive

shall not be included in any public filing with the Court, and instead shall be


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submitted under seal (except in the case of a defendant who chooses to include in a

public document sensitive information relating solely and directly to the defendant

making the filing).

      5.     Defendants, defendants= counsel, and authorized persons shall not copy

or reproduce the materials except in order to provide copies of the materials for use

in connection with this case by defendants, defendants’ counsel, and authorized

persons. Such copies and reproductions shall be treated in the same manner as the

original materials.

      6.     Defendants, defendants= counsel, and authorized persons shall not

disclose any notes or records of any kind that they make in relation to the contents of

the materials, other than to authorized persons, and all such notes or records are to

be treated in the same manner as the original materials.

      7.     Before providing materials to be retained by an authorized person,

defense counsel must provide the authorized person with a copy of this Order. This

provision does not apply to defense counsel merely showing materials to an

authorized person.

      8.     Upon conclusion of all stages of this case, all of the materials and all

copies made thereof shall be disposed of in one of three ways, unless otherwise

ordered by the Court. The materials may be (1) destroyed; (2) returned to the United

States; or (3) retained in defense counsel's case file. The Court may require a

certification as to the disposition of any such materials. In the event that the


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materials are retained by defense counsel, the restrictions of this Order continue in

effect for as long as the materials are so maintained, and the materials may not be

disseminated or used in connection with any other matter without further order of

the Court.

      9.     To the extent any material is produced by the United States to

defendants or defendants= counsel by mistake, the United States shall have the right

to request the return of the material and shall do so in writing. Within five days of

the receipt of such a request, defendants and/or defendants’ counsel shall return all

such material if in hard copy, and in the case of electronic materials, shall certify in

writing that all copies of the specified material have been deleted from any location

in which the material was stored.

      10.    The restrictions set forth in this Order do not apply to documents that

are or become part of the public court record, including documents that have been

received in evidence at other trials, nor do the restrictions in this Order limit defense

counsel in the use of discovery materials in judicial proceedings in this case, except

that any document filed by any party which attaches or otherwise discloses the

contents of taxpayer information obtained from the Internal Revenue Service (other

than taxpayer information relating solely to the defendant filing the document in

question) or specially identified sensitive information as described in Paragraph 4,

above, shall be filed under seal to the extent necessary to protect such information,

absent prior permission from this Court.


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      11.    Nothing contained in this Order shall preclude any party from applying

to this Court for further relief or for modification of any provision hereof.

                                         ENTER:


                                         MATTHEW F. KENNELLY
                                         District Court Judge
                                         United States District Court
                                         Northern District of Illinois

Date: 8/3/2021




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